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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

  UNITED STATES, et al.,                           )
                                                   )
                           Plaintiffs,             )
            v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                   )
  GOOGLE LLC,                                      )
                                                   )
                           Defendant.              )


      PLAINTIFFS’ MEMORANDUM IN SUPPORT OF OBJECTIONS TO MAGISTRATE
        JUDGE’S ORDER DENYING MOTION TO AMEND COORDINATION ORDER

            Plaintiffs respectfully object to the Magistrate Judge’s Order 1 denying Plaintiffs’

  proposed amendment to the discovery coordination order originally entered in this case (the

  “Coordination Order”). 2 That amendment would permit Plaintiffs to obtain copies of relevant

  deposition transcripts taken in a similar digital advertising technology lawsuit filed against

  Google by the State of Texas and its state co-plaintiffs (the “Texas Case”), 3 just as the

  Coordination Order already permits Plaintiffs to obtain deposition transcripts taken in the

  multidistrict litigation pending against Google in the United States District Court for the

  Southern District of New York (the “MDL”), 4 and just as the Coordination Order likewise

  permitted for the Texas Case before it was remanded from the MDL. 5

            Because fact discovery has already closed in this case, the proposed amendment would

  permit Plaintiffs to use those transcripts solely for the purpose of impeaching witnesses at trial,


  1
      ECF No. 560; see also ECF No. 561 (4/19/2024 Hearing Tr.).
  2
      Order Regarding Coordination of Discovery, ECF No. 251 (attached as Ex. 1).
  3
      State of Texas et al. v. Google LLC, No. 4:20-cv-957 (E.D. Tex.) (“Texas”).
  4
      In re Google Digital Advertising Antitrust Litig., No. 21-md-3010 (S.D.N.Y.) (“MDL”).
  5
      Plaintiffs have met and conferred with Google, and Google opposes the relief sought here.


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  just as the Coordination Order already allows for deposition transcripts obtained from the MDL.

  Coordination Order, ¶ 6. The Coordination Order has always permitted this limited use of

  deposition transcripts generated in coordinated cases after the close of fact discovery in this case.

  Doing so permits equal access to impeachment material for all parties and avoids any party

  gaining an unfair informational advantage by the happenstance of when discovery occurs. The

  proposed amendment is needed to maintain this level playing field because although the Texas

  Case was subject to the Coordination Order when it was originally entered—and throughout the

  fact discovery period in this case—it ceased being subject to the Coordination Order once it was

  remanded from the MDL in November 2023. 6 Thus, even though discovery has concluded in this

  case, Google, represented by the same counsel, is currently engaged in extensive fact discovery

  in both the Texas Case and the MDL that is relevant to testimony that will be offered in the trial

  of this case in September.

         The Magistrate Judge’s Order denying Plaintiffs’ motion to amend the Coordination

  Order was clearly erroneous. Principally, it failed to consider the prejudice to Plaintiffs of

  allowing Google access to deposition testimony of up to 80 relevant witnesses—including third

  parties who may be witnesses at trial in this case—without allowing Plaintiffs equivalent access

  to such impeachment material. Such important information, currently available to Google but not

  Plaintiffs, will necessarily inform Google’s trial strategy in this case, such as which witnesses to

  call and what topics to cover in their examination. The mere fact that the Texas Case was




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   As explained further below, the Coordination Order contemplated but did not automatically
  require coordination with a case remanded from the MDL because the timing of a remand
  relative to this case might moot the need for coordination, such as a remand occurring after the
  close of MDL discovery or a remand occurring after trial in this case has concluded.


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  remanded from the MDL after the Coordination Order was entered is not a justification for

  denying Plaintiffs equivalent access to such important impeachment material.

          Further, the Magistrate Judge’s Order failed to account for the inconsistent positions

  Google has taken regarding coordination of discovery between this case and the Texas Case. The

  Magistrate Judge was informed that while Google was opposing coordination in this Court,

  Google’s counsel had only weeks earlier assured the court overseeing the Texas Case that Google

  “intend[s] to do everything that [it] can to . . . continue the effectuation of the existing

  coordination order that was entered in Virginia and the MDL.” Texas, ECF No. 320, at 42:17-20.

  The Magistrate Judge was also aware that while Google was opposing coordination here it was

  seeking the benefits of such coordination in the Texas Case, issuing subpoenas for documents

  produced in this case in order use them in the Texas Case. The Magistrate Judge’s Order failed to

  address the inherent inequity in allowing Google to reap the benefits of coordination when it

  serves their interests in the Texas Case while fighting to deny Plaintiffs the reciprocal benefits of

  coordination in this case.

          This gamesmanship is still ongoing. Indeed, just two business days after the Magistrate

  Judge denied Plaintiffs’ motion, Google, with no prior notice or conferral with Plaintiffs, filed a

  joint motion in the Texas Case asking that court to permit Google to reproduce in the Texas Case

  all third-party discovery materials obtained in this case, including documents gathered by the

  United States during its pre-complaint investigation of Google’s conduct. Texas, ECF No. 402

  (attached as Ex. 2). The material Google seeks permission to reproduce in the Texas Case is, of

  course, subject to this Court’s Modified Protective Order. For the reasons stated in the United

  States’ Statement of Interest filed in the Texas Case (see Texas, ECF No. 430, attached as Ex. 3),

  it is doubtful whether the text or spirit of this Court’s Modified Protective Order permits Google




                                                     3
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  to use that material in the Texas Case without an amendment to the Coordination Order. Yet that

  fact did not stop Google from seeking the Texas Court’s permission to use the discovery material

  obtained in this case to benefit Google in the Texas Case. For the same reason, there is little

  doubt that Google’s counsel will similarly rely on information obtained in the Texas Case to

  structure their trial presentation in this case, despite the existence of a protective order in the

  Texas Case that might otherwise restrict their so doing. As explained below, it would be

  impossible for the same lawyers and law firms to put out of their mind the information learned

  from sworn testimony from the same witnesses in a related matter in crafting their trial strategy

  here. The Magistrate Judge’s denial of Plaintiffs’ motion to amend the Coordination Order failed

  to address the inherent prejudice to Plaintiffs in such asymmetrical coordination.

          As detailed below, Plaintiffs are willing to accept modified relief in order to address the

  Magistrate Judge’s stated concerns, including limiting the information obtained from the Texas

  Case to only depositions of witnesses on either side’s initial disclosures in this case and agreeing

  not to share those deposition transcripts with the MDL Plaintiffs. Plaintiffs therefore respectfully

  request that the Court sustain these objections and grant their request, as modified if the Court

  deems appropriate.

                                            BACKGROUND

          A. The Coordination Order, Which Applied to the Texas Case at the Time It Was
             Entered, Struck an Appropriate Balance Between the Needs of All Parties.

          To promote judicial efficiency between this case and related cases in other jurisdictions

  concerning Google’s anticompetitive conduct in the digital advertising technology (“ad tech”)

  industry, last year Plaintiffs and Google negotiated, and this Court ordered, a Coordination Order

  that provides for appropriate sharing and coordination of discovery between this case and the

  MDL. See ECF No. 251.



                                                     4
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         The Coordination Order is a thoughtful way to promote efficiency in taking discovery

  across the cases, address advantages and disadvantages to all parties from participating in

  different cases proceeding on different timelines, and ensure that cases with similar claims

  proceed to trial with a shared nucleus of consistent facts to minimize the risk of inconsistent

  judgments. The provisions of the Coordination Order (1) allow the sharing of documents

  produced in one case across all the cases; (2) require parties noticing depositions in one case to

  also serve the notices on counsel in the other cases that are still in a period of fact discovery; and

  (3) require that witnesses be deposed once (or during one two-day period) when their depositions

  are sought in multiple cases. Coordination Order, ¶¶ 2, 3.

         The Coordination Order also provides that, even after the close of fact discovery in this

  action, Plaintiffs have the right to obtain directly from the court reporter the transcripts of

  depositions taken in the MDL so that Plaintiffs would not be disadvantaged by the fact that

  Google was still conducting discovery and taking depositions of relevant witnesses. Coordination

  Order, ¶ 6. This process does not require Google to do anything; the burden is entirely on

  Plaintiffs to obtain these transcripts. And because such depositions would be happening after the

  close of discovery here, the Coordination Order provides that neither Google nor Plaintiffs could

  use such deposition transcripts for any purpose other than impeachment. Id.

         At the time the Coordination Order was negotiated and entered in this case, the Texas

  Case was part of the MDL and therefore subject to the terms of the Coordination Order. 7 It was




  7
   Google has acknowledged that the Texas Case “will implicate the same or similar documents,
  data, party witnesses, and third parties” as this one. ECF No. 44-2, at 12 (emphasis added).


                                                     5
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  not until November 2023, after fact discovery was over in this case, that the Texas Case was

  remanded, No. 23-910, ECF No. 101 (2d Cir.). 8

         B. During Fact Discovery in this Action, Google Benefited from the Coordination
            Order.

         The Coordination Order benefits all parties and non-parties. During fact discovery in this

  case, Google benefited from the Coordination Order by streamlining depositions of its

  employees and using discovery in this case to aid its defense in other cases. For example, the

  Coordination Order allowed Google to schedule party depositions on consecutive days, avoid

  party witnesses being deposed in multiple actions, and reproduce in the Texas Case and MDL

  hundreds of thousands of documents from Plaintiffs’ investigative materials, which Google now

  can rely on in defending itself in both the Texas Case and the MDL.

         C. The Coordination Order Expressly Contemplated the Potential Need for Future
            Amendment to Incorporate Remanded Cases.

         At the time the Coordination Order was being negotiated, the parties considered the

  possibility that one or more cases from the MDL would be transferred out of the MDL. For that

  reason, the final Coordination Order directed that: “If any case(s) currently part of the MDL are

  transferred to other venue(s), the Parties in the Coordinated Cases shall meet and confer with the

  parties to the transferred case(s) regarding whether, and on what conditions, the transferred

  case(s) should be coordinated with the MDL and the Virginia Case.” Coordination Order, ¶ 9

  (emphasis added). This language was an acknowledgement that the practical necessity and




  8
   Although the Judicial Panel on Multidistrict Litigation ordered remand of the Texas Case in
  June 2023, see MDL No. 3010, ECF No. 250 (J.P.M.L.), Google appealed that order to the
  Second Circuit. No. 23-910, ECF No. 1-2 (2d Cir.). After Google’s appeal was denied,
  proceedings resumed in Texas on November 2, 2023. See Texas, ECF No. 151.


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  degree of coordination might depend on the posture of the case being remanded, not a suggestion

  that the benefits of coordinating cases in active discovery would be diminished by a remand. 9

         D. Plaintiffs’ Diligent Efforts to Engage with Google and the Texas Plaintiffs
            Regarding Coordination Between this Case and the Texas Case.

         In June 2023, the day after the Judicial Panel on Multidistrict Litigation issued its initial

  ruling remanding the Texas Case to the Eastern District of Texas, Plaintiffs emailed counsel for

  Google asking to meet and confer about coordination with the Texas Case upon remand. Ex. 4

  (June 6, 2023 email from Ms. Wood to Google counsel). Google declined to meet and confer

  about coordination until after its appeal of the remand order was resolved.

         On January 2, 2024 (after fact discovery was over in this case), the Texas Court issued a

  scheduling order in the Texas Case. Texas, ECF No. 194. That order set deadlines and discovery

  limits (including 40 fact depositions per side), and it ordered the Texas Plaintiffs and Google to

  meet and confer regarding coordination of discovery with the MDL and this case.

         The Plaintiffs then worked with the Texas Plaintiffs and Google to develop a proposal for

  continuing appropriate coordination between this case and the Texas Case. Most importantly, the

  Texas Plaintiffs proposed to the Texas Court, at Plaintiffs’ request, a provision stating:

         Notwithstanding the Protective Orders, Counsel for any Party and Virginia
         Plaintiffs’ Counsel may obtain Transcripts and exhibits of Google Depositions,
         Party Depositions, and Non-Party Depositions taken in the States’ Case or the
         MDL after the Fact Discovery Cutoff in the Virginia Case, the Fact Discovery
         Cutoff in the MDL, or the Fact Discovery Cutoff in the States’ Case, directly from
         the court reporters for those depositions.




  9
    The next sentence of the Coordination Order (“If all claims brought by an MDL Plaintiff are
  dismissed, transferred, or remanded, then that MDL Plaintiff shall be treated as a Non-Party for
  purposes of this Order after such dismissal, transfer, or remand.”) explains how the plaintiff in
  the transferred case is treated in the interim—and also addresses how a plaintiff would be treated
  if all of its claims were dismissed (as opposed to remanded). Coordination Order, ¶ 9.


                                                    7
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  Texas, ECF No. 203-1, at 15. That provision was adopted in an order signed by Judge Sean D.

  Jordan, the presiding judge for the Texas Case, on February 26, 2024. Texas, ECF No. 266, at 14.

  However, by its terms, the order was to be effective only after it was entered in the MDL as well.

  Id. at 16.

          E. Judge Castel Declined to Order Coordination Between the Texas Case and the
             MDL but Said Nothing About Whether Plaintiffs Should Receive Deposition
             Transcripts from the Texas Case.

          The MDL Plaintiffs and Google both requested that Judge P. Kevin Castel, presiding over

  the MDL, enter this coordination order. See MDL, ECF Nos. 700, 706. On March 6, 2024, Judge

  Castel declined that request, stating concerns that coordinating deposition discovery with the

  Texas Case might slow down depositions in the MDL:

          Neither side has addressed the impact of the proposed Order on this Court’s pre-
          existing and generous schedule for the completion of fact discovery. The Court
          does not anticipate extending the date for completion of fact discovery. With 80%
          of the fact discovery period having passed, discovery in this MDL should be
          winding down. Now is not the time to start cross-notices of depositions in the
          action in the Eastern District of Texas.

  MDL, ECF No. 708 at 1 (emphasis added). Judge Castel did not express any concern with

  sharing discovery materials between the Texas Case and the MDL, much less between the Texas

  Case and this case.

          In light of Judge Castel’s ruling, which rendered the coordination order signed by Judge

  Jordan moot, the Plaintiffs asked the Texas Plaintiffs to convey to Judge Jordan the importance

  of implementing limited coordination between this case and the Texas Case. See Ex. 5 (March

  20, 2024 email from Mr. Wolin to counsel for the Texas Plaintiffs). Counsel for the Texas

  Plaintiffs conveyed this statement to Judge Jordan during a March 21, 2024 hearing. Texas, ECF

  No. 320, at 38:2-39:1. In response, Google’s counsel assured Judge Jordan that Google was

  committed to continued coordination with this case:



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         We’ve actually had productive discussions over the last two days where Google
         has made it very clear to plaintiffs that as regards Virginia, we intend to do
         everything that we can to sort of continue the effectuation of the existing
         coordination order that was entered in Virginia and the MDL. And we have made
         it very clear to plaintiffs that we are prepared to make Google -- continue to make
         Google’s documents and data available and to otherwise coordinate with respect
         to that existing coordination order.

  Id. at 42:15-23 (emphasis added).

         F. Google Rebuffs Plaintiffs’ Coordination Proposals But Attempts to Unilaterally
            Impose Sharing of Discovery from this Case with the Texas Case.

         In light of Google’s statements to the Texas Court about continued coordination, the

  Plaintiffs proposed on March 27, 2024 that the Plaintiffs, the Texas Plaintiffs, and Google agree

  to limited coordination between this case and the Texas Case that would permit the sharing of

  deposition transcripts originally permitted under the coordination order signed by Judge Jordan.

  Ex. 6 (March 27, 2024 email from Mr. Wolin to counsel for Google and the Texas Plaintiffs).

  Before meeting and conferring with Plaintiffs about that request, Google’s counsel informed the

  Plaintiffs that Google intended to subpoena Plaintiffs “for their documents and depositions taken

  in the Virginia Action, to be reproduced in” the Texas Case. Ex. 7 (April 5, 2024 email from Ms.

  Xia to counsel for Plaintiffs). And in lieu of actual reproduction of those materials, Google

  sought “only written permission to reproduce and use those materials from the Virginia

  Action in the Texas Action.” Id. (emphasis in original). 10




  10
    Google has never explained how such “written permission” would allow them, under the
  Modified Protective Order entered in this case, to use Confidential and Highly Confidential
  information from this litigation in litigating other cases, absent the kind of amendment to the
  Coordination Order that Plaintiffs seek. See, e.g., ECF No. 203, ¶ 24 (protected information
  “shall be used solely for the conduct of the Action”).


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          G. Plaintiffs File the Instant Motion, Which Google Opposes, and the Magistrate
             Judge Denies.

          Google did not accept Plaintiffs’ proposal for limited coordination, and therefore

   Plaintiffs filed a motion with the Magistrate Judge on April 12, 2024 requesting to amend the

   Coordination Order. See ECF Nos. 550 & 551. Plaintiffs sought an amendment that would “treat

   the Texas case identically to the cases still in the [MDL] for purposes of the Coordination

   Order.” ECF No. 551, at 2. Plaintiffs explained that good cause existed for extending the existing

   Coordination Order to the Texas Case because an extension would (1) provide Plaintiffs and

   Google equal access to the same deposition transcripts from the Texas Case, thereby maintaining

   the level playing field created by the original Coordination Order (id. at 7-9); (2) reduce the

   burden on Google, Plaintiffs, and third parties by eliminating the need to issue or respond to

   duplicative discovery requests; (id. at 9-10); (3) reduce the risk of inconsistent judgments by

   increasing the likelihood that both cases are decided on a consistent set of facts (id. at 10-11);

   and (4) not cause prejudice or burden to Google (id. at 11).

          In response, Google argued primarily that Plaintiffs’ motion sought to re-open discovery

   and would provide Plaintiffs with an asymmetric advantage by providing Plaintiffs with

   additional discovery materials obtained in the Texas Case while Google is unable to receive

   additional fact discovery in connection with this case. See generally ECF No. 553, at 5-10.

   Google’s opposition did not dispute that Google has two law firms and at least ten individual

   attorneys who represent Google in both this case and the Texas Case. And it did not explain how

   Google’s counsel could prevent themselves from inevitably considering information learned in

   depositions in the Texas Case to select their trial witnesses and craft their trial examinations in

   this case. Nor did Google dispute that its issuance of subpoenas in the Texas Case indicated that




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   Google was already applying information subject to the Modified Protective Order in this case to

   benefit Google in the Texas Case. See generally ECF No. 558 (Plaintiffs’ reply brief).

          On April 19, 2024, the Magistrate Judge denied Plaintiffs’ motion after hearing argument

   from the parties. See 4/19/2024 Hearing Tr. at 22:14-15. As the basis for the ruling, the

   Magistrate Judge stated:

          First of all, you know, this coordination order was negotiated through a long and
          difficult process, and the parties agreed to certain provisions at that time. … The
          parties, you know, made an agreement at that point in time, and the agreement is
          specific, where it says that if a case gets transferred or remanded … the result of
          that was that the parties in that remanded case are going to be non-parties.

          …

          I'm not sure why, when this issue came up in November, we're now dealing with it
          in April on the eve of filing summary judgment motions and motions in limine
          and four months before the trial in this case.

          …

          I'm also concerned, to be honest with you – you know, the Texas case is a much
          different case now that it’s in Texas than it was in the MDL.

          …

          And I’m concerned that the MDL Court has denied a similar request. … [F]or our
          Court to take a different position than the MDL Court, whether it could be used as
          a back door for the MDL plaintiffs or not, I think is an open issue.

   Id. at 20:23-22:6; see also ECF No. 560 (ordering that “plaintiffs’ motion is denied for the

   reasons stated from the bench”).

          H. After the Denial, Google Asks the Texas Court to Grant One-Way Coordination
             of Discovery Between This Case and the Texas Case.

          After opposing Plaintiffs’ request for coordination here, and two business days after the

   Magistrate Judge denied that request, Google filed a joint motion in the Texas Case seeking

   permission to reproduce all third-party documents obtained in this case—which are covered by

   the protective order in place in this action (ECF No. 203)—including materials from “the United



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   States’s related pre-suit investigation into Google.” Texas, ECF No. 402-1, at 1 (attached as Ex.

   2). As justification for this approach, the motion cites “the absence of an operative coordination

   order” and that “the parties are currently unable to use in [the Texas Case] the relevant discovery

   materials produced by third parties in” this case. Id. at 1. In other words, Google sought in the

   Texas Case the same benefits it would have received from the amendment to the Coordination

   Order that Plaintiffs sought here, without providing Plaintiffs the reciprocal benefit of obtaining

   deposition transcripts from the Texas Case. With leave of the Texas Court, the United States filed

   a Statement of Interest requesting that Google be directed to raise its request for coordination

   relief in this Court, given that the proposed order in the Texas Case would result in the

   production of millions of documents covered by this Court’s protective order. See Texas, ECF

   No. 430, at 2 (attached as Ex. 3). Google’s joint motion remains pending in the Texas Case. A

   hearing on that motion will be heard in the Texas Case on Monday, May 6 at 10:00 am.

                                        LEGAL STANDARDS

          When a non-dispositive matter is decided by a magistrate judge, “[a] party may serve and

   file objections to the order within 14 days,” and the district judge “must consider timely

   objections and modify or set aside any part of the order that is clearly erroneous or is contrary to

   law.” Fed. R. Civ. P. 72(a). Under the “clearly erroneous” standard, a factual determination may

   be set aside “when although there is evidence to support it, the reviewing court on the entire

   evidence is left with the definite and firm conviction that a mistake has been committed.” United

   States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948); see also Harman v. Levin, 772 F.2d 1150,

   1152-53 (4th Cir. 1985) (same); Harrison v. Shanahan, No. 1:18-cv-641, 2019 WL 2216474, at

   *4 (E.D. Va. May 22, 2019) (same). “Questions of law, on the other hand, are reviewed under the

   contrary-to-law standard, which is essentially synonymous with de novo review.” Harrison, 2019

   WL 2216474, at *4 (emphasis in original) (citing U.S. Gypsum, 333 U.S. at 594).


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                                               ARGUMENT

           A core function of the Coordination Order was to mitigate the advantage Google enjoys

   by obtaining additional information relevant to this case through discovery in other, similar cases

   after discovery in this case has closed. The Coordination Order did so by guaranteeing Plaintiffs

   some limited access to discovery from those cases—most importantly, the ability to obtain

   deposition transcripts—and providing guidelines for how that discovery may be used in this case.

   This arrangement was ordered after careful negotiations and a balancing of the interests of the

   parties and court. And it is vital to ensuring a level playing field at trial in this case. Indeed,

   without it, Google’s counsel would simply know more about what relevant witnesses, including

   third-party witnesses, will say under oath at trial due to Google’s unique status as participant in

   all three cases while discovery has ended in this case.

           Plaintiffs filed a motion to modify the Coordination Order simply to extend this

   arrangement—which applied to the Texas Case while it was part of the MDL—to the Texas Case

   now that it is proceeding separately. In contrast, Google seeks to take strategic advantage of the

   remand it spent months fighting by opposing amendment of the Coordination Order that would

   allow Plaintiffs’ equal access to deposition discovery from the Texas Case while still seeking to

   compel the use in the Texas Case of extensive discovery materials obtained in this case. Simply

   put, Google seeks the benefits of coordination when it suits them, yet simultaneously seeks to

   deprive Plaintiffs of the equivalent protections it sought in connection with the Coordination

   Order in the first place. Plaintiffs respectfully submit that under these circumstances, the

   Magistrate Judge’s order denying Plaintiffs’ motion is clearly erroneous and contrary to law.

           The Magistrate Judge’s ruling erred by not addressing the core justification for Plaintiffs’

   motion: an uneven playing field at trial. That justification constituted good cause for entering the

   Coordination Order originally, and the remand of the Texas Case did not diminish its importance


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   to ensuring a fair trial here. Because the Magistrate Judge failed to consider this important issue,

   his ruling “provides no explanation” of why the Magistrate Judge believed this justification was

   insufficient good cause to amend the Coordination Order. Wall v. Rasnick, 42 F.4th 214, 221 (4th

   Cir. 2022) (remanding under clear error where, inter alia, “the magistrate judge's one-page order

   provides no explanation of how she reached this conclusion”); see also Pennington v. Midland

   Credit Mgmt., Inc., No. 1:10-cv-112, 2010 WL 3187955, at *1-2 (E.D. Va. Aug. 9, 2010)

   (sustaining objections and reversing order compelling production of documents where the record

   demonstrated they were not “relevant or would lead to the discovery of relevant material” and

   the magistrate judge “did not elaborate on his reasoning” for finding otherwise); United States v.

   Prokop, No. 2:09-cv-22, 2012 WL 2375001, at *7 (D. Nev. June 22, 2012) (“The Magistrate

   Judge did not appear to consider the burden on the government of producing audit files of audits

   conducted before 2005. The Court therefore reverses the Magistrate Judge’s Order with respect

   to production of the files of audits conducted before January 1, 2005.”); TransWorld Medical

   Devics, LLC v. Cleveland Clinic Foundation, No. 3:18-cv-580, 2019 WL 6693704, at *2

   (W.D.N.C. Dec. 6, 2019) (sustaining objections to Magistrate Judge’s report and

   recommendation on motion to dismiss because the “the magistrate did not consider Plaintiffs’

   argument” that an alternative basis for a claim existed).

          Instead, the Magistrate Judge’s ruling was improperly based on an overly technical

   reading of the language of Coordination Order and whether it applied by its express terms to the

   Texas Case, rather than whether Plaintiffs had demonstrated good cause to amend it. In addition,

   the Magistrate Judge erroneously concluded that Plaintiffs’ request to amend the Coordination

   Order was made too late, despite Plaintiffs’ diligent efforts to protect their rights under the

   Coordination Order from the moment the Texas Case was remanded. Finally, the Magistrate




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   Judge’s ruling rested on a misinterpretation of Judge Castel’s order declining additional

   coordination between the MDL and the Texas Case. Judge Castel’s order in no way supported the

   Magistrate Judge’s concern that allowing Plaintiffs in this action to obtain deposition transcripts

   from the Texas Case might somehow thwart progress in the MDL. These fundamental errors,

   combined with the failure to consider properly the justification offered by Plaintiffs and the

   prejudice that would result from denying Plaintiffs’ motion, make clear that the Magistrate

   Judge’s ruling on this question was in error.

          A. The Magistrate Judge’s Decision Ignores That Plaintiffs Will Be Prejudiced at
             Trial by Google Taking Additional Depositions in the Texas Case of Witnesses
             Who May Be Called at Trial in this Case.

          Several undisputed facts demonstrate that Plaintiffs will be prejudiced at trial unless

   limited coordination is extended to the Texas Case: First, Google is taking and participating in

   many additional depositions in the Texas Case. Second, at least some witnesses and entities have

   been noticed for deposition in the Texas Case that also appear on the parties’ initial disclosures in

   this case, and therefore are potential witnesses at trial in this case. Third, Google’s attorneys will

   be participating in those depositions, and two of Google’s primary law firms in the Texas Case

   (Freshfields and Axinn) are also representing Google in this case (including at least ten

   individual attorneys who have appeared for Google in both cases). Fourth, due to the overlap in

   claims and issues, some of the information from the Texas Case depositions will be relevant to

   the issue presented at trial in this case. And fifth, Google’s attorneys will inevitably have the

   opportunity to rely on the information they learn from the Texas Case in selecting trial witnesses

   and preparing trial examinations for this case. See ECF No. 551, at 7-8; ECF No. 558, at 6-7.

          These undisputed facts lead to the unavoidable result that Google will have an undue

   advantage at trial because of the additional knowledge and impeachment material gained through

   conducting additional discovery in the Texas Case. That advantage is undue because it is based


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   only on the happenstance of the remand of the Texas Case. The Coordination Order was designed

   to eliminate that advantage, which is why deposition transcripts from the MDL must be shared

   with Plaintiffs, even after the close of fact discovery here. There is simply no basis in fairness or

   logic for applying a different rule to the Texas Case than currently applies to the MDL, especially

   given that the Texas Case was part of the MDL at the time that the Coordination Order was

   negotiated and entered. Without the amendment to the Coordination Order, Google’s counsel will

   be permitted to choose party and third-party witnesses to call here based on information from the

   deposition transcripts obtained in the Texas Case. Google’s counsel will also be able to structure

   their witness examinations at trial here to proffer, or avoid, the admissions contained in those

   deposition transcripts. In all, Google’s counsel would be armed with significantly more

   information about the relevant witnesses and issues than Plaintiffs’ counsel would be able to

   access. That advantage leads to an uneven playing field between the parties, which is

   inconsistent with the principle that a fair, adversarial system leads to a just result. See In re BofI

   Holdings, Inc. Securities Litigation, No. 15-cv-2324, 2021 WL 4460751, at *4 (S.D. Cal. Sep.

   29, 2021) (holding that “asymmetrical access is unfair and contrary to the truth-seeking purpose

   of civil discovery” where defendants had “asymmetrical access” to deposition transcripts in

   related action because “[t]he same law firm, and some lawyers” represented defendant in both

   actions).

           The solution to these challenges can be found in the balanced approach achieved by this

   Court’s previous Coordination Order. Extending that order to cover (once again) the Texas Case

   is the only way to reliably ensure that Google cannot gain an unfair advantage from using

   discovery in the Texas Case to inform their trial strategy and examinations in this case. Such

   advantages cannot be balanced out by simply ordering Google’s counsel not to make use of




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   information obtained through the Texas Case. See id. at *5 (agreeing that because “Defendants

   and their counsel cannot unlearn what they already know,” and thus reversing a magistrate

   judge’s order because “allowing the June 15 Order to stand would give a ‘tactical advantage’

   windfall to Defendants”). Doing so either invites sideshows at trial about the source of Google’s

   knowledge or requires counsel to conveniently unlearn something, which is of course something

   that human beings cannot do. See ECF No. 551, at 8 n.2 (citing PepsiCo., Inc. v. Redmond, 54

   F.3d 1262, 1269 (7th Cir. 1995), which recognized that an ex-employee would “inevitably” use

   his ex-employer’s confidential information to inform work for a future employer, even when the

   ex-employee had signed a non-disclosure agreement). Nothing prevents Google from exercising

   its right as a litigant to ask questions at depositions in the Texas Case and the MDL, but at a bare

   minimum, Plaintiffs should be allowed access to the results of those undeniably relevant

   examinations. The safest and fairest course to achieve an equitable solution is to simply do what

   the Coordination Order already provides: give Plaintiffs equivalent access to the impeachment

   material obtained in related cases.

          B. The Magistrate Judge’s Decision Ignores the Burden Google is Placing on
             Plaintiffs and Third Parties of Responding to Duplicative Discovery Requests.

          In addition, the Magistrate Judge’s decision erred by failing to remedy or account for the

   prejudice to third parties, Plaintiffs, and their constituent agencies of unnecessarily having to

   respond to duplicative discovery requests in the two cases. Reducing the burden of duplicative

   discovery on third parties was another key rationale for the Coordination Order, and the

   Magistrate Judge’s decision does not address these burdens at all, let alone show how they are

   justified in light of any countervailing concerns. Again, the key facts are not in dispute: Google is

   actively seeking to re-use in the Texas Case discovery that was obtained through subpoenas

   issued in this case, including: (1) documents and depositions taken from third parties during



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   discovery in this case; (2) documents Plaintiffs produced to Google in this case which Plaintiffs

   had previously collected from third-parties in their pre-suit investigations of Google;

   (3) documents from Plaintiffs (including federal and state agencies) regarding their use of digital

   advertising; (4) depositions taken of witnesses from the same federal agencies seeking damages

   in this case; and (5) a deposition taken of the United States itself, as a plaintiff in this case.

           Rather than consenting to an amendment of the Coordination Order that would permit the

   re-use of discovery from this case in the Texas Case without unnecessarily burdening third

   parties and the Plaintiffs, Google has instead resorted to “self-help” measures, such as

   duplicative subpoenas, in order to deny Plaintiffs the benefit of the discovery Google is

   conducting in the Texas Case (i.e., the deposition transcripts of relevant witnesses). In that

   regard, the Magistrate Judge’s ruling also failed to consider the fundamental unfairness in

   allowing Google to obtain the benefit of one-way sharing of information from this case to the

   Texas Case by imposing additional burden on the Plaintiffs and third parties, while opposing

   Plaintiffs’ proposal which would provide Google that same benefit in a manner that does not

   burden anyone, including third parties. See Prokop, 2012 WL 2375001, at *7 (holding that a

   magistrate judge’s decision was “clearly erroneous” because it failed to consider that complying

   with the order would be “unduly burdensome” for the government).

           C. The Magistrate Judge’s Decision Is Premised on a Misinterpretation of Judge
              Castel’s Order Denying Coordination Between the Texas Case and the MDL.

           The Magistrate Judge also grounded his ruling on an illusory concern about discovery

   coordination that misconstrues Judge Castel’s order and has no basis in the record. During the

   hearing, the Magistrate Judge voiced concern that granting Plaintiffs’ motion would run counter

   to Judge Castel’s order declining to allow further coordination between the MDL and the Texas

   Case. 4/19/2024 Hearing Tr. at 22:3-13. In particular, the Magistrate Judge expressed concern



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   that the proposed amendment to the Coordination Order would create “a back door” for MDL

   plaintiffs to obtain discovery materials from the Texas Case, which the Magistrate Judge

   erroneously concluded would be contrary to Judge Castel’s denial of coordination between the

   MDL and the Texas Case. Id.

          The only concern expressed in Judge Castel’s order, however, was that further

   coordination of depositions between the MDL and Texas Case would slow down the depositions

   in the MDL and thereby jeopardize the ability of the MDL Plaintiffs and Google to complete

   discovery by June 28, 2024. See MDL, ECF No. 708, at 1. Nowhere in Judge Castel’s order does

   he express any concern about the potential for coordination between the Texas Case and this

   case. Nor does Judge Castel suggest that discovery in the MDL would be slowed down by the

   production in this case of depositions transcripts in the Texas Case. The only concern expressed

   by Judge Castel was that: “Now is not the time [for the MDL Plaintiffs] to start cross-notices of

   depositions in [the Texas Case].” Id. at 1. Hence, there was no reasonable basis for the

   Magistrate Judge to conclude that granting Plaintiffs’ motion would contravene Judge Castel’s

   ruling. See Wall, 42 F.4th at 220 (ruling abuses discretion “when it relies on erroneous factual or

   legal premises”).

          D. Concerns Expressed by Google and the Magistrate Judge Could Be Addressed
             by Minor Modifications to the Coordination Order.

          The Magistrate Judge expressed concern about the differences between this case and the

   Texas Case and the possibility of discovery from the Texas Case being transferred to the MDL

   Plaintiffs through a “backdoor” channel. 4/19/2024 Hearing Tr. at 21:20-25, 22:2-13. And while

   the Magistrate Judge did not specifically refer to them, Google raised concerns in its opposition

   about the volume of new information potentially subject to sharing with this case. See, e.g., ECF

   No. 553, at 2. Each of these concerns could be fully addressed by minor modifications to



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   Plaintiffs’ proposed amendment of the Coordination Order, to which Plaintiffs are willing to

   consent. See Dauel v. Bd. of Trustees of Elgin Cmty. Coll., No. 83-c-9370, 1986 WL 6097, at *3

   (N.D. Ill. May 20, 1986) (sustaining “plaintiff’s ‘limited objection’” and modifying Magistrate

   Judge’s recommendation “to the extent that plaintiff’s limited objection has been sustained”).

           First, both Google and the Magistrate Judge questioned whether the Texas Case involves

   different issues than this case. ECF No. 553, at 4, 6-7; 4/19/2024 Hearing Tr. at 21:20-25. This

   suggestion is inaccurate, and contradicted by Google’s own previous arguments to this Court.11

   But to the extent there are any substantive differences, that concern could be addressed by

   limiting the sharing of deposition transcripts from the Texas Case to witnesses or entities that

   already appear on either parties’ initial disclosures. 12 Plaintiffs are amendable to this restriction

   and implementing it would ensure that only transcripts from relevant witnesses would be shared

   and that coordination would introduce no “new” witnesses or issues to this case.

           Second, there is a simple remedy to any concern of deposition transcripts being shared

   from the Texas Case to the MDL through a “backdoor”: expressly requiring that Plaintiffs not

   share any deposition transcripts or other materials obtained from the Texas Case with the MDL

   Plaintiffs. Again, Plaintiffs are amendable to this additional restriction.




   11
     Google has asserted that this case is simply “DOJ[’s] Own Version of the Texas Case” and that
   both cases “allege the same facts, relevant markets, and claims, and seek the same relief”; “share
   the same factual nucleus of shared documents”; “[a]nd they will implicate the same or similar
   documents, data, party witnesses, and third parties as they progress through discovery.” ECF
   No. 44-2 at 10-12 (emphasis added).
   12
      See generally Britt v. Livanova Holding USA Inc., No. 6:18-cv-3117, 2022 WL 3053753, at *2
   (D.S.C. Aug. 2, 2022) (granting “Plaintiffs’ request for identification and production of
   deposition transcripts and exhibits from non-MDL cases related to [the device and medical
   treatment at issue]”); Transamerica Life Ins. Co. v. Moore, 274 F.R.D. 602, 608 (E.D. Ky. 2011)
   (ordering production of “deposition transcripts of Plaintiff’s employees who have testified in
   similar litigation” where the “actions involv[e] similar claims”).


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             Third, to limit the volume of information shared from the Texas Case into this case,

   Plaintiffs are willing to limit their request to just deposition transcripts and exhibits. The

   Coordination Order currently also allows the sharing of documents from the MDL with Plaintiffs

   notwithstanding the close of fact discovery in this case. But Plaintiffs are willing to forego this

   provision with respect to the Texas Case. Thus, at the very most, the volume of new information

   shared with this case is 80 deposition transcripts and exhibits—but in reality it will be less, given

   that at least some of the depositions in the Texas Case will likely be of witnesses or entities not

   previously listed in the parties’ initial disclosures in this case. 13

             While extending the entire existing Coordination Order to the Texas Case was a simple

   approach that unquestionably preserved both the rights and responsibilities of all parties,

   Plaintiffs now propose narrowing their request to address the concerns of the Magistrate Judge

   and Google, such that (1) it would apply only to depositions transcripts, not documents;

   (2) would apply only to witnesses or entities which already appear on either parties’ initial

   disclosures in this case (including all supplements thereto); and (2) Plaintiffs would be prohibited

   from sharing any such deposition transcripts or exhibits with the MDL Plaintiffs.

                                               CONCLUSION

             For the reasons discussed herein, Plaintiffs respectfully request that the Court sustain

   their objections to the Magistrate Judge’s order of April 19, 2024 and grant their motion, with the

   modifications described above to address the concerns expressed in the Magistrate Judge’s

   ruling.




   13
     While the parties in the Texas Case can take up to 40 depositions per side, the actual number of
   depositions taken may be materially less because both sides can cross notice the same witness.


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   Dated: May 3, 2024

   Respectfully submitted,

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